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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA

                                      Case No. 1:21-cr-00569-TNM
           v.
                                      FILED IN CAMERA, EX PARTE AND
JESSE R. BENTON,                      UNDER SEAL WITH THE CLASSIFIED
                                      INFORMATION SECURITY OFFICER OR
                                      DESIGNEE
           Defendant.



  GOVERNMENT’S CLASSIFIED EX PARTE, IN CAMERA, UNDER SEAL MOTION AND
   MEMORANDUM OF LAW IN SUPPORT OF PROTECTIVE ORDER PURSUANT TO
SECTION 4 OF THE CLASSIFIED INFORMATION PROCEDURES ACT AND RULE 16(d)(1)
                OF THE FEDERAL RULES OF CIVIL PROCEDURE
